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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

IN RE:                                                          CASE NO. 17-10200-TBM
COX, ELAINA MARIE

                                                                CHAPTER 13

                DEBTOR(S)


                           CHAPTER 13 TRUSTEE'S MOTION TO DISMISS


The Standing Chapter 13 Trustee moves to dismiss the case based on the following:

1. The Debtor(s) failed to make the payments required by the Plan.

        A. The Plan and/or current modified Plan requires the Debtor(s) to pay the current sum of
           $445.00 per month.

        B. The total paid into the Plan through June 12, 2018 is $5,505.00, the last payment having been
           received by the Trustee on May 14, 2018.

        C. Payment of $1,780.00 is required to be current through June 12, 2018.

2. The Debtor(s) failure to comply with the requirements for relief under Chapter 13, Title 11, United
   States Code is prejudicial to creditors.

   WHEREFORE, the Trustee requests that this case be dismissed pursuant to 11 U.S.C. § 1307.




Dated: June 12, 2018                                    By: /s/ Karen Perse
                                                                Karen Perse
                                                                for Chapter 13 Trustee
                                                                4725 S. Monaco St., Ste. 120
                                                                Denver, CO 80237
                                                                Phone: 720.398.4444
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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

IN RE:                                                           CASE NO. 17-10200-TBM
COX, ELAINA MARIE

                                                                 CHAPTER 13

                DEBTOR(S)


                     NOTICE OF CHAPTER 13 TRUSTEE'S MOTION TO DISMISS


                            OBJECTION DEADLINE: July 3, 2018
YOU ARE HEREBY NOTIFIED that Douglas B. Kiel, Chapter 13 Trustee, has filed a Chapter 13
Trustee’s Motion to Dismiss with the bankruptcy court and requests the following relief:

                  Trustee seeks dismissal of the Chapter 13 case due to non-payment.

If you oppose the motion or object to the requested relief your objection and request for hearing must be
filed on or before the objection deadline stated above, served on the movant at the address indicated
below, and must state clearly all objections and any legal basis for the objections. The court will not
consider general objections.

In the absence of a timely, substantiated objection and request for hearing by an interested party, the
court may approve or grant the requested relief without any further notice to creditors or other interested
parties.



DATED: June 12, 2018                                      By: /s/ Karen Perse
                                                                  Karen Perse
                                                                  for Chapter 13 Trustee
                                                                  4725 S. Monaco St., Ste. 120
                                                                  Denver, CO 80237
                                                                  Phone: 720.398.4444
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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

IN RE:                                                          CASE NO. 17-10200-TBM
COX, ELAINA MARIE

                                                                CHAPTER 13

                DEBTOR(S)


                                      CERTIFICATE OF SERVICE


I hereby certify that a copy of the Chapter 13 Trustee’s Motion to Dismiss, and Notice of Chapter 13
Trustee’s Motion to Dismiss was placed in the U.S. Mail, postage pre-paid, on June 12, 2018.

ELAINA MARIE COX
10975 N LOG ROAD
CALHAN, CO 80808


Notice by Electronic Transmission was sent to the following persons/parties:
LAW OFFICE OF JASON BLUST LLC


DATED: June 12, 2018                                    /s/ Janice LeGros
                                                            Janice LeGros
